Case: 1:20-cv-03416 Rocument #;,10-1 Filed: of e 1 of 2 PagelD #:65

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Gutted States Patent and Trademark Office

Reg. No. 5,125,409
Registered Jan. 17, 2017
Int. Cl.: 9

Trademark

Principal Register

 

Mitt, K Low

Director of the United States
Patent and Trademark Office

 

Akamatsu Takayoshi (JAPAN INDIVIDUAL)
4F Daichi Bldg.

1-4-43, Miyanishi,

Matsuyama-shi, Ehime, JAPAN 790-0065

CLASS 9: Downloadable image files, namely, downloadable images of human beings,
animals, supernatural, fabulous, fantastic or unidentifiable beings, and plants, for further for
use on stickers, or as emoticons, icons, and avatars for use in connection with computers,
smart phones, and mobile phones

FIRST USE 5-31-2016; INCOMMERCE 10-17-2016
The color(s) yellow, pink, brown and white is/are claimed as a feature of the mark.

The mark consists of wording "Piske&Usagi" in a yellow stylized font. Under the stylized
wording is the image of pink rabbit with patches of white outlined in brown, and the image of
a white bird with pink cheeks and a yellow beak outlined in brown.

SER. NO. 86-775,384, FILED 10-01-2015
DAVID T TAYLOR, EXAMINING ATTORNEY
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Gnited States Patent and Trademark Office leg

Reg. No. 5,205,597
Registered May 16, 2017
Int. CL.: 9

Trademark

Principal Register

 

Mitt, Ko Low

Director of the United States
Patent and Trademark Office

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Akamatsu Takayoshi (JAPAN INDIVIDUAL)
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FIRST USE 5-31-2016; INCOMMERCE 10-17-2016

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

The name(s), portrait(s), and/or signature(s) shown in the mark identifies "KANAHEI",
whose consent(s) to register is made of record.

SER. NO. 86-775,294, FILED 10-01-2015
DAVID T TAYLOR, EXAMINING ATTORNEY
